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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                             :       CASE NO. 24-54623-PWB
                                                   :
BELINDA'S SOUTHERN CUISINE, INC.                   :       CHAPTER 7
                                                   :
                                 Debtor.           :
                                                   :
                                                   :
MONIQUE JACKSON,                                   :
                                                   :
                      Movant,                      :
                                                   :       CONTESTED MATTER
v.
                                                   :
BELINDA'S SOUTHERN CUISINE, INC.,                  :
                                                   :
                      Respondent.                  :
                                                   :

                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that MONIQUE JACKSON has filed a Motion for Relief
From the Automatic Stay (the “Motion”) and related papers with the Court seeking an order
authorizing the Movant to file a complaint against the Respondent in state court in order to
liquidate the Movant’s claim against the Respondent in connection with the Respondent’s
negligence that resulted in Movant tripping and falling and suffering a knee injury. Movant
seeks to recover against Respondent’s applicable insurance policies and is not seeking to
recover any ssets from Respondent. .

      PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
at 10:15A. M. on November 20, 2024 in Courtroom 1401, United States Courthouse, 75 Ted
Turner Drive, SW, Atlanta, Georgia 30303, which may be attended in person or via the Court’s
Virtual Hearing Room. You may join the Virtual Hearing Room through the “Dial-In and
Virtual Bankruptcy Hearing Information” link at the top of the homepage of the Court’s website,
www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also be found on the
Court’s website. Please also review the “Hearing Information” tab on the judge’s webpage for
further information about the hearing. You should be prepared to appear at the hearing via
video, but you may leave your camera in the off position until the Court instructs otherwise.
Unrepresented persons who do not have video capability may use the telephone dial-in
information on the judge’s webpage.
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 Your rights may be affected by the Court’s ruling on these pleadings. You should read these
 pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
 (If you do not have an attorney, you may wish to consult one.) If you do not want the Court to
 grant the relief sought in these pleadings or if you want the Court to consider your views, then
 you and/or your attorney must attend the hearing. You may also file a written response to the
 pleadings with the Clerk at the address stated below, but you are not required to do so. If you file
 a written response, you must attach a certificate stating when, how and on whom (including
 addresses) you served the response. Mail or deliver your response so that it is received by the
 Clerk before the hearing. The address of the Clerk's Office is: Clerk, U. S. Bankruptcy Court,
 Suite 1340, 75 Ted Turner Drive, SW, Atlanta Georgia 30303. You must also mail a copy of your
 response to the undersigned at the address stated below.

         If a hearing on the Motion cannot be held within thirty (30) days, Movant waives the
 requirement for holding a preliminary hearing within thirty days of filing the Motion and agrees
 to a hearing on the earliest possible date. Movant consents to the automatic stay remaining in
 effect until the Court orders otherwise.


 Dated: October 28, 2024                               /s/Drew Gilliland
                                                       Drew Gilliland
                                                       Counsel for Movant
                                                       Georgia Bar No. 116570
                                                       351 Atlanta Street SE
                                                       Marietta, GA 30060
                                                       (404)999-1111
                                     Certificate of Service
        I hereby certify that on the 28th day of October, 2024, I electronically filed the
 foregoing Motion for Relief from Stay and Notice of Hearing using the Bankruptcy Court’s
 Electronic Case Filing program, which sends a notice of this document and an accompanying
 link to this document to the following parties who have appeared in this case under the
 Bankruptcy Court’s Electronic Case Filing program: Trustee: S. Gregory Hays; Attorney for
 Debtor: Kenneth Mitchell; Attorney for Debtor: Paul Reece Marr




        Kenneth Mitchell                             Paul Reece Marr
        gmapclaw@gmail.com                           Paul.Marr@marrlegal.com
                                      S. Gregory Hays
                                      ghays@haysconsulting.net

        I further certify that on this day I caused a copy of this document to be served via FedEx
on the following parties at the address shown for each.
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   Allison McDonald
   Law Office of Zanita King-
   Hughes 3655 North Point
   Parkway
   Suite 500A
   Alpharetta, GA 30005
   FedEx Tracking: 7795 2600 3484




   Dated: October 28, 2024

   /s/ Drew Gilliland
   Drew Gilliland
   351 Atlanta Street, SE
   Marietta, GA 30060
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                           :
                                 :                   Case No. 24-54623-PWB
BELINDA’S SOUTHERN CUISINE, INC. :
                                 :                   Chapter 7
    Debtor.                      :
                                 :
                                 :
MONIQUE JACKSON,                 :                  CONTESTED MATTER
                                 :
     Movant,                     :
                                 :
v.                               :
                                 :
BELINDA’S SOUTHERN CUISINE, INC. :
                                 :
     Respondent.                 :



                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY


         COMES NOW MONIQUE JACKSON (the “Movant”) and brings this Motion For
Relief From The Automatic Stay (the “Motion”) seeking entry of an Order annulling the
automatic stay of 11 U.S.C. § 362(a). In support of this Motion the Movant respectfully shows
this Honorable Court as follows:


                             JURISDICTION AND BACKGROUND


   1. This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.
         This Motion commences a "core proceeding" pursuant to 28 U.S.C. § 157(b).
   2. Monique Jackson, as “Plaintiff”, was a customer of Respondent’s, as “Defendant”,
         restaurant, Belinda Southern Cuisine, located at 7322 Stonecrest Concourse, Stonecrest,
         GA 30038, during business hours on February 26, 2023.
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    3. As Plaintiff was walking out of the Respondent’s restaurant, Plaintiff tripped and fell on a
        brick located on the sidewalk outside the subject restaurant and sustained multiple injuries.
    4. On December 21, 2023, Plaintiff filed a Complaint in Dekalb County State Court (Civil
        Action File No. 23A06024) against the Respondent and the Respondent was properly
        served on February 9, 2024, through its registered agent, Belinda Hull.
    5. The Respondent filed its chapter 11 bankruptcy Petition on May 6, 2024. On August 30,
        2024, the Court granted Respondent’s Motion to Convert Bankruptcy Case to Chapter
        7. Tamara Miles Ogier was appointed as the chapter 7 trustee.


                         RELIEF REQUESTED AND BASIS FOR RELIEF


         1. The Movant seeks entry of an order modifying or terminating the automatic stay
 of 11 U.S.C. § 362(a) authorizing the Movant to file a complaint against the Respondent in
 state court in order to liquidate the Movant’s claim against the Respondent in connection with
 the Movant’s fall on the Respondent’s property, and to seek recovery against the Respondent’s
 applicable insurance policy only. . Movant requests that the 14-day stay provided for in Fed.
 R. Bankr. P. 4001 (a)(3) be waived so that such stay relief will be effective immediately upon
 entry of an order granting this Motion.
         2.    The Movant seeks a money judgment for damages suffered as a result of the
 Respondent’s negligence. To the extent the Movant obtains a judgment, she will only look to
 the applicable insurance policy to satisfy her claim.

        3.     Although the Respondent’s insurance policy may be property of the bankruptcy
estate, its proceeds are not. See In re Doug Baity Trucking, Inc., No. 04-13537, 2005 WL
1288018, at *8 (Bankr. M. D. N.C. April 21, 2005) (holding that the proceeds of a third-party liability
insurance policy are not property of the estate).
         4.     Granting the requested relief will not prejudice either the Respondent or the
 bankruptcy estate because the Movant’s claim, including the associated defense costs,
 will b e covered by the applicable insurance policy. See Int'l Bus. Machs. v. Fernstrom
 Storage and Van Co. (Matter of Fernstrom Storage & Van Co.), 938 F.2d 731, 736 (7th
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Cir. 1991) (noting that "debtors-defendants suffer little prejudice when they are sued by
plaintiffs who seek nothing more than declarations of liability that can serve as a predicate for a
recovery against insurers, sureties, or guarantors"). The Movant, however, will clearly be
prejudiced if she is not permitted to pursue her remedies as requested herein.
       5.    Courts of this and other districts routinely lift the automatic stay to permit the
continued prosecution of a case against a debtor under such circumstances. See e.g., Egwineke v.
Robertson (In re Robertson), 244 B.R. 880, 884 (Bankr. N.D. Ga. 2000) (lifting stay with
respect to movant's claims covered by debtor's liability insurance policy); Karp v. R.J.
Groover Const. (In re R.J. Groover Const., L.L.C.), 411 B.R. 460, 467 (Bankr. S.D. Ga. 2008)
(same); Holtkamp v. Littlefield (Matter of Holtkamp), 669 F.2d 505,508 (7th Cir. 1982) (same).
       WHEREFORE, for the reasons set forth above, the Movant requests that the Court
enter an order, substantially in form as attached hereto as Exhibit A, modifying or terminating
the automatic stay of 11 U.S.C. § 362(a) authorizing the Movant to file a complaint
against the Respondent in state court in order to liquidate the Movant’s claim against the
Respondent in connection with the Respondent’s negligence, and to seek recovery against the
Respondent’s applicable insurance policy only, and that the Court grant such other relief as may
be appropriate. Movant requests that the 14-day stay provided for in Fed. R. Bankr. P. 4001 (a)(3)
be waived so that such stay relief will be effective immediately upon entry of the Court's Order.

Dated: October 28, 2024                                       NICK SCHNYDER LAW FIRM
                                                              /s/ Drew Gilliland
                                                              Drew Gilliland (GA Bar # 116570)
                                                              351 Atlanta St. SE
                                                              Marietta, GA 30060
                                                              404-999-1111
                                                              dgilliland@schnyderlawfirm.com
                                                              Attorney for Monique Jackson
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In re:                           :
                                 :                  Case No. 24-54623-PWB
BELINDA’S SOUTHERN CUISINE, INC. :
                                 :                  Chapter 7
    Debtor.                      :
                                 :
                                 :
MONIQUE JACKSON,                 :                 CONTESTED MATTER
                                 :
     Movant,                     :
                                 :
v.                               :
                                 :
BELINDA’S SOUTHERN CUISINE, INC. :
                                 :
     Respondent.                 :



                                CERTIFICATE OF SERVICE

         I hereby certify that on the 28th day of October, 2024, I electronically filed the
foregoing Motion for Relief from Stay and Notice of Hearing using the Bankruptcy Court’s
Electronic Case Filing program, which sends a notice of this document and an accompanying
link to this document to the following parties who have appeared in this case under the
Bankruptcy Court’s Electronic Case Filing program: Trustee: S. Gregory Hays; Attorney
for Debtor: Kenneth Mitchell; Attorney for Debtor: Paul Reece Marr
Kenneth Mitchell             Paul Reece Marr                    S. Gregory Hays
gmapclaw@gmail.com           Paul.Marr@marrlegal.com            ghays@haysconsulting.net




        In addition, I hereby certify that on this day I caused a true and correct copy of the
document to be deposited in the U.S. Mail with sufficient postage to ensure delivery addressed
to the following persons at the following addresses:
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Allison McDonald
LAW OFFICES OF ZANITA KING-
HUGHES
3655 North Point Parkway, Suite 500A
Alpharetta, GA 30005
Allison.mcdonald@thehartford.com
FedEx Tracking: 7795 2600 3484




This the 28th day of October, 2024.
                                                       NICK SCHNYDER LAW FIRM
                                                       /s/ Drew Gilliland
                                                       Drew Gilliland (GA Bar # 116570)
                                                       351 Atlanta St. SE
                                                       Marietta, GA 30060
                                                       404-999-1111
                                                       dgilliland@schnyderlawfirm.com
                                                       Attorney for Monique Jackson
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                                          EXHIBIT A
                                          PROPOSED
                                           ORDER



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 In re:                           :
                                  :                  Case No. 24-54623-PWB
 BELINDA’S SOUTHERN CUISINE, INC. :
                                  :                  Chapter 7
    Debtor.                       :
                                  :
                                  :
 MONIQUE JACKSON,                 :                  CONTESTED MATTER
                                  :
     Movant,                      :
                                  :
v.                                :
                                  :
 BELINDA’S SOUTHERN CUISINE, INC. :
                                  :
      Respondent.                 :



                     ORDER FOR RELIEF FROM AUTOMATIC STAY


          This matter came before the Court, pursuant to 11 U.S.C. § 362, on the Motion for
 Relief from Automatic Stay (the “Motion”) filed on October 28, 2024 by Monique Jackson
 (the “Movant”). Based upon good cause shown and the entire record in this bankruptcy case:
          IT IS HEREBY ORDERED AS FOLLOWS:
          1. The Motion is granted.




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       2. The automatic stay of 11 U.S.C. § 362(a) is modified to allow the Movant to
file a complaint against the Respondent in state court in order to liquidate the Movant’s claim
against the Respondent in connection with the Respondent’s alleged negligence, and to seek
recovery against the Respondent’s applicable insurance policy.
      3. The automatic stay provisions of 11 USC § 362(a) are modified to allow the
Respondent’s insurer to retain and pay for the costs and fees necessary to retain counsel and
other professionals to defend the Respondent in connection with the settlement or defense of
any complaint brought by the Movant in state court in accordance with the relevant terms and
proceeds of the applicable insurance policy.
      4. The 14-day stay provided for in Fed. R. Bankr. P. 4001 (a)(3) is hereby waived so that
stay relief is effective immediately upon entry of this Order.


                                     END OF DOCUMENT


Prepared and submitted by:
Drew Gilliland
NICK SCHNYDER LAW FIRM
Attorney for Monique Jackson


Drew Gilliland (GA Bar # 116570)
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Marietta, GA 30060
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                                      DISTRIBUTION LIST


        Pursuant to Local Rule 9013-2(b) for the United States Bankruptcy Court, Northern
District of Georgia, following is a list of all parties to be served with a copy of this Order:


Paul Reece Marr                                        S. Gregory Hays
PAUL REECE MARR, P.C.                                  Hays Financial Consulting
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Allison McDonald                                       Kenneth Mitchell
LAW OFFICES OF ZANITA KING-                            Giddens, Mitchell & Associates, P.C. 2951
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